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                                                               FILED
                                                   United States Court of Appeals
                    UNITED STATES COURT OF APPEALS         Tenth Circuit

                             FOR THE TENTH CIRCUIT                      March 3, 2021
                           _________________________________
                                                                     Christopher M. Wolpert
                                                                         Clerk of Court
      GILBERT T. TSO, a natural person
      and an American,

            Plaintiff - Appellant,
                                                          No. 20-1142
      v.                                      (D.C. No. 1:19-CV-00293-PAB-STV)
                                                           (D. Colo.)
      REBECCA MURRAY, a/k/a Tso,
      individually; TANYA AKINS,
      individually; SHERR PUTTMANN
      AKINS LAMB PC, a law firm;
      JEANNIE RIDINGS, individually;
      KILLIS RIDINGS & VANAU PC, a
      law firm; RUSSELL M. MURRAY,
      individually; DENA MURRAY,
      individually; JOANNE JENSEN,
      individually; RICHARD F.
      SPIEGLE, Psy. D., individually;
      ELIZABETH A. STARRS,
      individually; CHARLES D.
      JOHNSON, individually; ROSS B.H.
      BUCHANAN, individually; DAVID
      H. GOLDBERG, individually;
      MONICA JACKSON, individually;
      LARA DELKA, individually;
      CHRISTIAN MADDY, individually;
      JENNIFER ADELMANN,
      individually,

            Defendants - Appellees.
                        _________________________________

                             ORDER AND JUDGMENT *

  *
        The parties waive oral argument, and it would not materially help us
  to decide the appeal. See Fed. R. App. P. 34(a)(2)(C); 10th Cir. R. 34.1(G).
  So we have decided the appeal based on the record and the parties’ briefs.
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                           _________________________________

  Before BACHARACH, Circuit Judge, LUCERO, Senior Circuit Judge, and
  PHILLIPS, Circuit Judge.
                    _________________________________

        This appeal grew out of state-court proceedings involving a divorce

  and disputes over child-custody and related support. Unhappy with the

  proceedings and the result, Mr. Gilbert Tso has filed four federal lawsuits

  against his ex-wife, her attorneys, her parents, and government officials.

  This appeal involves the fourth of the federal lawsuits.

        In this lawsuit, Mr. Tso sued for violations of RICO, the federal

  constitution, and state law. The federal district court dismissed all of the

  federal causes of action, concluding that

              one RICO cause of action had failed to state a valid claim and

              the remaining federal causes of action were barred under the
               Rooker-Feldman doctrine.

  After dismissing the federal causes of action, the court declined

  supplemental jurisdiction over the state causes of action and imposed filing

  restrictions. Mr. Tso appeals, and we affirm.




        Our order and judgment does not constitute binding precedent except
  under the doctrines of law of the case, res judicata, and collateral estoppel.
  But the order and judgment may be cited for its persuasive value if
  otherwise appropriate. See Fed. R. App. P. 32.1(a); 10th Cir. R. 32.1(A).
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  1.    The magistrate judge did not erroneously stay discovery.

        Mr. Tso contends that the magistrate judge erroneously stayed

  discovery while awaiting a ruling on the defendants’ motion for filing

  restrictions. Mr. Tso waived this contention, and it lacks merit.

        Mr. Tso objected to the magistrate judge’s ruling, but he did not

  argue there that discovery had been improperly stayed. The omission of

  that argument constitutes a waiver under the firm-waiver rule. See Sinclair

  Wyo. Refining Co. v. A & B Builders, Ltd., Nos. 19-8042 & 19-8053,

  ___ F.3d ___, ___, 2021 WL 672247, at *22–23 (10th Cir. Feb. 22, 2021).

        This contention also lacks merit because Mr. Tso misunderstands the

  magistrate judge’s ruling. The magistrate judge stayed some filing

  deadlines, but did not stay discovery. 1

        For both reasons, we reject Ms. Tso’s challenge to the alleged stay of

  discovery.

  2.    The district court did not erroneously apply the Rooker-Feldman
        doctrine.

        Mr. Tso also challenges the district court’s reliance on the

  Rooker-Feldman doctrine. Under this doctrine, the federal district court

  lacks jurisdiction over a suit challenging the correctness of a state-court



  1
        The parties do not generally file depositions, interrogatories,
  document requests, admission requests, deposition notices, or subpoenas.
  Fed. R. Civ. P. 5(d)(1)(A); D. Colo. L. Civ. R. 5.3(a).

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  ruling. Bolden v. City of Topeka, 441 F.3d 1129, 1142–43 (10th Cir. 2006).

  On this issue, we conduct de novo review. Mann v. Boatright, 477 F.3d

  1140, 1145 (10th Cir. 2007).

        According to Mr. Tso, the Rooker-Feldman doctrine does not apply

  because (1) the state-court orders were void ab initio and (2) the state

  courts did not provide due process. Both arguments are invalid.

        We rejected the first argument in Mr. Tso’s prior appeal: Tso v.

  Murray, 822 F. App’x 697, 701 (10th Cir. 2020) (unpublished). Our

  decision there precludes Mr. Tso from reurging the same argument in

  another federal case. Requena v. Roberts, 893 F.3d 1195, 1209 (10th Cir.

  2018). So we again reject Mr. Tso’s effort to avoid the Rooker-Feldman

  doctrine by characterizing the state-court orders as void ab initio.

        Mr. Tso also argues that the Rooker-Feldman doctrine does not cover

  claims involving denial of procedural due process. We rejected this

  argument in Bolden v. City of Topeka, 441 F.3d 1129, 1145 (10th Cir.

  2006). Under Bolden, Mr. Tso’s argument lacks merit.

  3.    The district court did not err in dismissing the first RICO cause
        of action.

        In his first RICO cause of action, Mr. Tso alleged that his ex-wife,

  her attorneys, her parents, and a court-appointed psychologist had

  engineered a racketeering enterprise by increasing the litigation costs in

  the domestic-relations proceedings and by failing to transfer title to his


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  real property. The district court dismissed this cause of action based on a

  failure to adequately plead (1) a predicate act of racketeering activity and

  (2) a pattern of racketeering activity. Mr. Tso challenges the first

  rationale, contending that he adequately pleaded a pattern of racketeering

  activity. We reject this contention for two reasons.

        First, Mr. Tso does not address the district court’s reliance on the

  second rationale (failure to adequately plead a predicate act of racketeering

  activity). He asserts that he alleged predicate acts of mail and wire fraud,

  extortion, robbery, peonage, obstruction of enforcement, and involuntary

  servitude. But he does not say how his allegations would satisfy the

  elements of these offenses. He has thus waived a challenge to the district

  court’s reliance on the failure to adequately plead a predicate act. Because

  this failure constituted an alternative basis for the ruling, we would need to

  affirm even if Mr. Tso had adequately pleaded a pattern of racketeering

  activity. Bones v. Honeywell Int’l, Inc., 366 F.3d 869, 877 (10th Cir.

  2004).

        Second, the RICO cause of action does not reflect the continuity

  required to constitute a pattern of racketeering activity. Mr. Tso alleged

  that he had been targeted by his ex-wife, her attorneys, her parents, and a

  court-appointed psychologist. But Mr. Tso has alleged no facts suggesting

  a potential threat to others.



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  4.    The district court did not err in imposing filing restrictions.

        Mr. Tso also challenges the filing restrictions, arguing that he did not

  act in bad faith, his conduct was not egregious enough to justify filing

  restrictions, his arguments were not frivolous, and less restrictive means

  existed. But we rejected the same arguments in his prior appeal. Tso v.

  Murray, 822 F. App’x 697, 702 (10th Cir. 2020) (unpublished). Our

  reasoning there is equally applicable here.

                                       * * *

        We reject Mr. Tso’s contentions, concluding that

              the magistrate judge did not erroneously stay discovery and

              the district court did not err in dismissing the first RICO cause
               of action, applying the Rooker-Feldman doctrine, or imposing
               filing restrictions.

  We thus affirm the dismissal and imposition of filing restrictions.

                                          Entered for the Court



                                          Robert E. Bacharach
                                          Circuit Judge




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                            UNITED STATES COURT OF APPEALS
                                FOR THE TENTH CIRCUIT
                                 OFFICE OF THE CLERK
                                 Byron White United States Courthouse
                                          1823 Stout Street
                                       Denver, Colorado 80257
                                           (303) 844-3157
   Christopher M. Wolpert                                                           Jane K. Castro
   Clerk of Court                        March 03, 2021                         Chief Deputy Clerk


   Mr. Gilbert T. Tso
   3700 Quebec Street, Unit 100
   Denver, CO 80207

   RE:       20-1142, Tso v. Murray, et al
             Dist/Ag docket: 1:19-CV-00293-PAB-STV

  Dear Appellant:

  Enclosed is a copy of the order and judgment issued today in this matter. The court has
  entered judgment on the docket pursuant to Fed. R. App. P. Rule 36.

  Please contact this office if you have questions.

                                                Sincerely,



                                                Christopher M. Wolpert
                                                Clerk of the Court
   cc:       Allison R Ailer
             Sherri L. Catalano
             Jonathan Neal Eddy
             Kelly L. Kafer
             James D. Murdock II
             Richard Maxton Murray
             Amy Jean Packer
             Tory D. Riter
             Kevin Scott Taylor
             Valentine Uduebor
             Robert Wolf
             Eric Michael Ziporin
    CMW/lg
